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 Counsel for Plaintiffs

 [Additional Counsel listed on signature page]


                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 MERINO, et al., individually and on
 behalf of all others similarly situated,     Case No.: 2:16-cv-07840-ES-MAH
              Plaintiffs,
       v.

 WELLS FARGO & COMPANY and
 WELLS FARGO BANK, N.A.,

              Defendants.


             PLAINTIFFS’ UNOPPOSED MOTION FOR
      PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

       PLEASE TAKE NOTICE that on April 1, 2019 at 9:00 AM or as soon

 thereafter as the matter can be heard, Plaintiffs, through their undersigned counsel,

 will move before Hon. Esther Salas, U.S.D.J., to enter the proposed Order Granting

 Plaintiffs’ Motion for Preliminary Approval of Settlement Agreement (the
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 “Preliminary Approval Order”). Defendant does not oppose this motion.

 Specifically, Plaintiffs respectfully file this Motion for Preliminary Approval of

 Settlement Agreement, and move the Court for an order:

       1.     Granting preliminary approval of the Parties’ Settlement Agreement

 and Release (“Settlement” or “Agreement”) as fair, reasonable and adequate

 pursuant to FED. R. CIV. P. 23(e), and as a fair and reasonable resolution of a bona

 fide dispute under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (“FLSA”),

 that furthers the purpose of the FLSA;

       2.     Provisionally certifying the Settlement Class and its Applicable State

 Subclasses 1 pursuant to FED. R. CIV. P. 23(a) and (b)(3) for purposes of

 administering the proposed Settlement;

       3.     Provisionally certifying the Settlement Collective pursuant to 29

 U.S.C. § 216(b) for purposes of administering the proposed Settlement;

       4.     Provisionally appointing Plaintiffs Juan Carlos Merino and Jonathon

 Almonte as class representatives for the New Jersey Subclass, Plaintiff Richard

 Sklenka as the class representative for the Connecticut Subclass, Plaintiff Abdullahi

 Hajisomo as the class representative for the Minnesota Subclass, Plaintiff Joshua

 Thomson as the class representative for the Nevada Subclass, Plaintiff Jonathan


 1Terms capitalized in this Motion have the same meanings as those used in the
 Agreement which is attached hereto as Exhibit 1.


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 Almonte as the class representative for the New York Subclass, Plaintiff Claudia

 Cervantes Chouza as the class representative for the North Carolina Subclass, and

 Keenan Johnson as the class representatives for the Pennsylvania Subclass;

       5.      Provisionally appointing Berger Montague, PC, the Law Office of

 Roosevelt N. Nesmith, LLC, Giskan Solotaroff & Anderson LLP, The Markham

 Law Firm, Reali Law APC, Quintilone & Associates, and Russel S. Warren Jr., as

 Class Counsel;

       6.      Appointing Rust Consulting, Inc. as the Administrator to provide notice

 to the Settlement Collective and Settlement Class and administer the Settlement;

       7.      Approving as to form and content the proposed Claim Form attached

 as Exhibit A to the Agreement, and the proposed Notices of Class and Collective

 Action Settlement attached as Exhibits B and C to the Agreement, and directing that

 notice of the Settlement be provided to the Settlement Class and Settlement

 Collective in accordance with the provisions of the Agreement; and

       8.      Scheduling a Final Approval Hearing to consider the fairness,

 reasonableness and adequacy of the Agreement and whether final approval should

 be granted.

       This Motion is based on the accompanying Memorandum of Law; the

 proposed Agreement, which is attached hereto as Exhibit 1 (with its Exhibits A - G);

 the accompanying Declarations of Shanon J. Carson, Roosevelt N. Nesmith, Peggy


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 J. Reali, David R. Markham, Catherine E. Anderson, Russell S. Warren, and Richard

 E. Quintilone filed in support of this Motion; and all other records, pleadings and

 papers on file in this action. Pursuant to the terms of the Agreement, Defendants do

 not oppose this Motion.

          A proposed Order is submitted for the Court’s consideration.

 Dated: February 28, 2019                      Respectfully submitted,

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                                          *Admitted pro hac vice.

                                          Counsel for Plaintiffs




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                         CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing

 was served upon all counsel of record through the Court’s ECF system this 28th day

 of February, 2019.



                                           s/ Roosevelt N. Nesmith
                                             Roosevelt N. Nesmith




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